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             EXHIBIT B
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                                              In re Tesla, Inc. Securities Litigation
                                              c/o JND Legal Administration
  A federal court authorized this Notice.     P.O. Box ________
  This is not a solicitation from a lawyer.   Seattle, WA 98111



 If you purchased and/or sold Tesla, Inc.
   stock, options and/or other securities
  between August 7, 2018 and August 17,      Class Member Name
2018, a class action lawsuit may affect your Class Member Address
                   rights.                   Class Member City/State/Zip Code


 Questions? Call (___) ___-____ or visit
 [website] for complete information and
                 details.
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                                              What is this notice?
A class action lawsuit called In re Tesla, Inc. Securities Litigation, No. 3:18-cv-04865-EMC (the “Action”)
is now pending in the U.S. District Court for the Northern District of California against Tesla, Inc. (“Tesla”),
Elon Musk, Brad W. Buss, Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias, James Murdoch, Kimbal
Musk, and Linda Johnson Rice (collectively, “Defendants”). The lawsuit alleges, among other things, that in
August 2018, Elon Musk made false and/or materially misleading statements via Twitter about Tesla possibly
becoming a private company. Defendants strongly deny that they did anything wrong. The Action has been
certified as a class action on behalf of the Class described below, except for certain persons and entities that
request to be excluded from the Class. The Court has appointed Plaintiff Glen Littleton to represent the Class
as the Class Representative. By certifying the Class and authorizing this notice, the Court is not suggesting
that the Class Representative will win or lose this case; he will instead attempt to prove his claims in
proceedings that will occur in the future. This notice is intended only to advise you that the Action has been
certified as a class action and of your rights with respect to the lawsuit. Additional information about the
Action and your rights is available at [website] or by calling ___-___-___.

                                    Why am I being contacted?
You are a member of the Class if you purchased and/or sold Tesla stock, options, and/or other securities
between 12:48 P.M. EDT on 8/7/2018 and 8/17/2018.
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                                               What are my options?
If you are a Class Member, you have the right to decide whether to remain a member of the Class. You can
do nothing and automatically be included in the Class or exclude yourself from the Class. Whether you act
or not, your rights may be affected. If you choose to remain a member of the Class, you do not need to do
anything at this time (other than retain your documentation reflecting your transactions in Tesla securities).
You will automatically be included in the Class, and you will be bound by the proceedings in this Action,
including all past, present and future orders and judgments of the Court, whether favorable or unfavorable. If
you are a Class Member and do not wish to remain a member of the Class, you must take steps to exclude
yourself from the Class. If you timely and validly request to be excluded from the Class, you will not be bound
by any orders or judgments in the Action, and you will not be eligible to receive a share of any money that
might be recovered in the future for the benefit of the Class. To exclude yourself from the Class, you must
submit a written request for exclusion postmarked no later than __________, 2021, in accordance with the
instructions set forth in the full Notice. If at a later date the parties decide to settle, then you will have another
opportunity to exclude yourself from the Class. Absent settlement, however, you will not be able to exclude
yourself from the Class or subsequent orders and judgments if you do not request exclusion in response to
this notice.

                                              Do I have a lawyer?
Yes. The Court has appointed lawyers from Levi & Korsinsky, LLP as “Class Counsel.” They represent you
and other Class Members. Unless you hire your own personal lawyer, as a Class Member you will not have
any direct obligations to pay the costs of this lawsuit. If you hire your own lawyer, you will need to pay your
own legal fees.
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                                 Where can I find additional information?
For the full Notice and more information about the Action, including how to exclude yourself, go to [website]
or by calling ___-___-___.

If you are a broker or custodian, please immediately review the full Notice at the website below for
instructions on providing timely notification to beneficial owners.
